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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ADOLFO HUMBERTO ALMAZO VIDAL, 18-CV-8819
individually and on behalf of others similarly situated,
STIPULATION AMENDING
Plaintiff SETTLEMENT AGREEMENT AND
RELEASE

-against-

THE DRAFT HOUSE LLC (D/B/A THE DRAFT
HOUSE), MAURIZIO SALIERNO, LUIGI
GHIDETTI, and FABRIZIO PELLIZZON,

Defendants.

 

 

IT IS HEREBY STIPULATED and agreed, by and between the Plaintiff and each of the
undersigned Defendants, pursuant to Paragraph 6 (“Modification of Agreement”) of the previously-
executed Settlement Agreement and Release (“Agreement”) in this matter, that the Agreement is modified
as follows:

e Paragraph 3 of the Agreement shall be amended to read in its entirety as follows:

3. Release and Covenant Not To Sue: Plaintiff knowingly and voluntarily
releases and forever discharges Defendants, on behalf of himself and anyone claiming by
or through him, from any and all claims at issue in this action, whether known or unknown,
asserted or unasserted, arising up to and as of the date of the execution of this Agreement,
which Plaintiff had, has or may have against Defendants, and also covenants not to file or
join any claim, suit or other proceeding alleging a violation of the FLSA by any of the
Defendants relating to facts occurring prior to the date of the execution of this Agreement
or re-asserting any of the above-released claims.

Except as so modified, the Agreement shall continue in full effect in accordance with its
terms, subject, however, to this Court’s further review and approval.

This stipulation may be signed in counterparts and by facsimile or emailed transmissions.

Date: New York, New York
June 7, 2019

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